                    IN THE UNITED STATES BANKRUPTCY COURT
                NORTHERN DISTRICT OF ALABAMA, NORTHERN DIVISION

 IN RE:                                           )
                                                  )
 DECATUR ATHLETIC CLUB, LLC,                      ) CASE NO. 17-81439-CRJ-11
 EIN NO.: XX-XXX2840                              ) CHAPTER 11
                                                  )
      Debtor.                                     )

   ORDER APPROVING ORAL PRE-CONFIRMATION MODIFICATION OF PLAN

       This matter came before the Court on May 24, 2018, for hearing on the request of Decatur

Athletic Club, LLC, debtor and debtor-in-possession (“Debtor”), seeking confirmation of its

Fourth Amended Chapter 11 Plan of Reorganization filed April 19, 2018 (Doc. 296) (the "Plan”).

Proper notice of the hearing was given and appearances were made by Jeremy Goforth as a Debtor

representative, Stuart M. Maples as counsel for the Debtor, Richard O’Neal as counsel or the

Internal Revenue Service, Matt Hancock as counsel for Direct Capital, and Richard M. Blythe,

Bankruptcy Administrator. Counsel for Debtor and counsel for Decatur Mall, LLC represented to

the Court that the parties orally agreed pre-confirmation to settle the Administrative Expense

Claim for and additional $4,000.00, bringing the amount of the Administrative Expense Claim to

$74,000.00. The Court finds based upon the representations of the parties that the modification is

APPROVED.

       It is therefore ORDERED, ADJUDGED and DECREED as follows:

       1.       That treatment for the Decatur Mall, LLC Administrative Expense Claim provided

for in Section II, Classes and Classifications of Claims and Interest, 2.0 Unclassified Claims in the

amount of $70,000.00 is modified to $74,000.00, pursuant to Fed. R. Bankr. P. 3019(a).

       2.       That treatment for the Decatur Mall, LLC Administrative Expense Claim provided

for in Section III, Impairment and Treatment of Classes Under the Plan, 3.0 Treatment of




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Unclassified Claims in the amount of $70,000.00 is modified to $74,000.00, pursuant to Fed. R.

Bankr. P. 3019(a).

       3.      That such modification does not adversely change the treatment of any creditor of

the interest of any equity security holder who has not accepted, in writing, the modification.

       4.      That such modification is not material to the treatment of any other creditor of

interest because funding for the Administrative Expense Claim comes from third-party non-debtor

sources.

Dated this the 9th day of August, 2018.

                                                     /s/ Clifton R. Jessup, Jr.
                                                     Clifton R. Jessup, Jr.
                                                     United States Bankruptcy Judge




Order prepare by:
Stuart M. Maples
MAPLES LAW FIRM, PC




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